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                    IN THE DISTRICT COURT OF THE UNITED STATES
                        FOR THE MIDDLE DISTRICT OF ALABAMA

IN THE MATTER OF THE RESTRAINT OF:

APPROXIMATELY 1,000 ROOSTERS,HENS,
                                                               Case No.: ot-   0\1 arigA%         -Azar
YOUNG CHICKENS, AND UNHATCHED                                  UNDER SEAL
CHICKENS LOCATED AT AND AROUND 4046
COUNTY ROAD 528, VERBENA, ALABAMA,36091

                FOURTEEN-DAY TEMPORARY RESTRAINING ORDER

       The United States has made an ex parte application before this Court, pursuant to Title

21, United States Code, Section 853(e)(2) and Title 18, United States Code, Section 983(j)(3),

for a temporary restraining order to preserve the availability of the following property that is

currently or potentially subject to forfeiture to the United States:

        APPROXIMATELY 1,000 ROOSTERS,HENS,YOUNG CHICKENS,AND
                         UNHATCHED CHICKENS

       Upon consideration of the Government's application and the evidence set forth in the

application, this Court makes the following findings:

        1.     Pursuant to Title 21, United States Code, Section 853(e)(1), this Court is

authorized to enter a restraining order or injunction, require the execution of a satisfactory

performance bond, or take any other action to preserve the availability of property subject to

forfeiture.

       2.      Pursuant to Title 21, United States Code, Section 853(e)(2), this Court may enter

an ex parte 14-day temporary restraining order if the United States demonstrates probable cause

to believe the property with respect to which the order is sought would, in the event of

conviction, be subject to forfeiture and that provision of notice will jeopardize the availability of

the property for forfeiture.
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        3.      There is probable cause to believe the above-captioned birds are subject to

forfeiture and restraint because they constitute property involved in violations of Title 7 United

States Code, Section 2156 and, therefore, would, in the event of conviction, be subject to

forfeiture to the United States pursuant to Title 7 United States Code, Section 2156(0.

        4.      Advance notice of the Government's request for this restraining order to the

owner(s) of the subject property or to those in custody of the subject property will jeopardize the

availability of the property for forfeiture.

        ACCORDINGLY, IT IS ORDERED, ADJUDGED, AND DECREED, that Tyler

Easterling, Billy Easterling, Swift Creek Gamefarm, and/or any other persons acting on their

behalf are prohibited, enjoined, and restrained from attempting or completing any action that

would affect the availability of the above-identified property including, but not limited to,

selling, transporting, removing, secreting, euthanizing, or otherwise disposing of all or any part

of his interest, direct or indirect, in the subject birds.

        IT IS FURTHER ORDERED that Tyler Easterling, Billy Easterling, and/or Swift Creek

Gamefarm shall maintain physical custody of the birds pursuant to the terms and conditions

listed below:

        1.      The birds shall not be moved from 4046 County Road 528, Verbena, Alabama,

36091 without written authorization from the United States Department of Agriculture Office of

Inspector General.

        2.      The birds shall not be harmed, killed, or otherwise disposed of without written

consent ofthe United States Department of Agriculture Office of Inspector General.

        3.      Each seized bird shall be tagged, and the tag will have an ID number affiliated

with the particular bird. The owner shall not remove any tags from the birds for any reason
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without prior authorization from the United States Department of Agriculture Office of Inspector

General.

       4.     If a bird dies, the owner(s) shall immediately contact the United States

Department of Agriculture Office of Inspector General with the bird's ID number. A United

States Department of Agriculture Office of Inspector General agent will, within 48 hours, inform

the owner whether the United States will seize the bird's body.

       5.      The birds must be humanely cared for at the expense of the owner.

       6.      Agents of the United States have the right to view and inspect the birds if any

such inspection is deemed appropriate or necessary by the United States.

       7.      The United States and its individual officers shall be held harmless for and

released from any and all damage, injury, or loss which may occur to any persons or property as

a result of the maintenance ofthe birds while held by the owner pursuant to this agreement.

       8.      All insurance coverage maintained on the birds or the facility/structure in which

the birds are maintained shall be kept in force at the expense of the owner.

       9.      Should the owner(s) decide that they no longer wish to care for the birds, the

owner must first contact the United States Department of Agriculture Office of Inspector General

to request a surrender form and to come to an agreement about the disposal of the birds, which

may include euthanasia or placement.

       10.     Breach of any of the above-listed terms and conditions may result in the request

of civil and/or criminal sanctions against the owner(s).

       IT IS FURTHER ORDERED that the United States or its agent shall serve a copy of this

temporary restraining order forthwith upon Tyler Easterling, Billy Easterling, and/or Swift Creek

Gamefarm, and any other persons with an interest in the above-described property, and make a
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return thereof to this Court.

         IT IS FURTHER ORDERED that this temporary restraining order shall expire within 14

days from the date of its entry or June 25, 2021, unless extended for good cause shown or unless

the party against whom it is entered consent(s) to an extension for a longer period.

         IT IS FURTHER ORDERED that in the event a hearing is requested concerning this

Temporary Restraining Order or its conversion to a 90-day restraining order under 21 U.S.C. §

853(e)(1)(B), said hearing shall be held on or before June 24, 2021.



Dated:
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                                             Unit    tates District Judge
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